Case 9:19-cv-81358-DMM Document 1 Entered on FLSD Docket 10/04/2019 Page 1 of 9



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

   SYMBOLOGY INNOVATIONS LLC,
                                                        Civil Action No.:
               Plaintiff,

         v.                                             TRIAL BY JURY DEMANDED

   NIGHT OWL SP, LLC,

               Defendant.


                      COMPLAINT FOR INFRINGEMENT OF PATENT

         Now comes, Plaintiff, Symbology Innovations LLC (“Plaintiff” or “Symbology”), by and

  through undersigned counsel, and respectfully alleges, states, and prays as follows:

                                   NATURE OF THE ACTION

         1.      This is an action for patent infringement under the Patent Laws of the United States,

  Title 35 United States Code (“U.S.C.”) to prevent and enjoin Night Owl SP, LLC (hereinafter

  “Defendant”), from infringing and profiting, in an illegal and unauthorized manner, and without

  authorization and/or consent from Plaintiff from U.S. Patent No 8,424,752 (“the ‘752 Patent” or

  the “Patent-in-Suit”), which is attached hereto as Exhibit A and incorporated herein by reference,

  and pursuant to 35 U.S.C. §271, and to recover damages, attorney’s fees, and costs.

                                           THE PARTIES

         2.      Plaintiff is a Texas limited liability company with its principal place of business at

  1400 Preston Road, Suite 400, Plano, TX 75093.

         3.      Upon information and belief, Defendant is a corporation organized under the laws

  of Florida, having a principal place of business at 621 NW 53rd St., Ste. 310, Boca Raton, Florida

  33487. Upon information and belief, Defendant may be served with process c/o its registered agent

  Ronald Ferris, 4720 Radio Road, Naples, FL 34104.

                                                   1
Case 9:19-cv-81358-DMM Document 1 Entered on FLSD Docket 10/04/2019 Page 2 of 9




          4.          Plaintiff is further informed and believes, and on that basis alleges, that Defendant

  operates the website www.nightowlsp.com, which is in the business of providing security

  products, amongst other things. Defendant derives a portion of its revenue from sales and

  distribution via electronic transactions conducted on and using at least, but not limited to, its

  Internet website located at www.nightowlsp.com, and its incorporated and/or related systems

  (collectively the “Night Owl Website”). Plaintiff is informed and believes, and on that basis

  alleges, that, at all times relevant hereto, Defendant has done and continues to do business in this

  judicial district, including, but not limited to, providing products/services to customers located in

  this judicial district by way of the Night Owl Website.

                                       JURISDICTION AND VENUE

          5.          This is an action for patent infringement in violation of the Patent Act of the United

  States, 35 U.S.C. §§1 et seq.

          6.          The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

  §§1331 and 1338(a).

          7.          This Court has personal jurisdiction over Defendant by virtue of its systematic and

  continuous contacts with this jurisdiction and its residence in this District, as well as because of

  the injury to Plaintiff, and the cause of action Plaintiff has risen in this District, as alleged herein.

          8.          Defendant is subject to this Court’s specific and general personal jurisdiction

  pursuant to its substantial business in this forum, including: (i) at least a portion of the

  infringements alleged herein; (ii) regularly doing or soliciting business, engaging in other

  persistent courses of conduct, and/or deriving substantial revenue from goods and services

  provided to individuals in this forum state and in this judicial District; and (iii) being incorporated

  in this District.



                                                        2
Case 9:19-cv-81358-DMM Document 1 Entered on FLSD Docket 10/04/2019 Page 3 of 9




         9.       Venue is proper in this judicial district pursuant to 28 U.S.C. §1400(b) because

  Defendant resides in this District under the Supreme Court’s opinion in TC Heartland v. Kraft

  Foods Group Brands LLC, 137 S. Ct. 1514 (2017) through its incorporation, and regular and

  established place of business in this District.

                                     FACTUAL ALLEGATIONS

         10.      On January 20, 2015, the United States Patent and Trademark Office (“USPTO”)

  duly and legally issued the ‘752 Patent, entitled “System and method for presenting information

  about an object on a portable electronic device” after a full and fair examination. The ‘752 Patent

  is attached hereto as Exhibit A and incorporated herein as if fully rewritten.

         11.      Plaintiff is presently the owner of the ‘752 Patent, having received all right, title

  and interest in and to the ‘752 Patent from the previous assignee of record. Plaintiff possesses all

  rights of recovery under the ‘752 Patent, including the exclusive right to recover for past

  infringement.

         12.      The invention claimed in the ‘752 Patent comprises systems and methods for

  enabling portable electronic devices to present information about a selected object.

         13.      The ‘752 Patent contains 28 claims.

         14.      Claim 1 of the ‘752 Patent states:

                          “1. A method comprising:
                          capturing a digital image using a digital image capturing device that is part
                  of a portable electronic device;
                          detecting symbology associated with an object within the digital image
                  using a portable electronic device;
                          decoding the symbology to obtain a decode string using one or more visual
                  detection applications residing on the portable electronic device;
                          sending the decode string to a remote server for processing;
                          receiving information about the object from the remote server wherein the
                  information is based on the decode string of the object;


                                                    3
Case 9:19-cv-81358-DMM Document 1 Entered on FLSD Docket 10/04/2019 Page 4 of 9




                          displaying the information on a display device associated with the portable
                  electronic device.” See Exhibit A.

          15.     Defendant commercializes, inter alia, methods that perform all the steps recited in

  at least one claim of the ‘752 Patent. More particularly, Defendant commercializes, inter alia,

  methods that perform all the steps recited in Claim 1 of the ‘752 Patent. Specifically, Defendant

  makes, uses, sells, offers for sale, or imports a method that encompasses that which is covered by

  Claim 1 of the ‘752 Patent.



                                   DEFENDANT’S PRODUCT(S)

          16.     Defendant offers solutions, such as a QR code on its products available for sale (the

  “Accused Product”), that enables systems and methods for enabling portable electronic devices to

  present information about a selected object. For example, the Accused Product, at least in internal

  usage and testing, performs the method for enabling portable electronic devices to present

  information about a selected object. A non-limiting and exemplary claim chart comparing the

  Accused Product of Claim 1 of the ‘752 Patent is attached hereto as Exhibit B and is incorporated

  herein as if fully rewritten.

          17.     As recited in Claim 1, a system, at least in internal testing and usage, utilized by

  the Accused Product, Defendant provides a QR code associated with selected product (e.g. Night

  Owl Security Product). See Exhibit B.

          18.     As recited in one step of Claim 1, the system, at least in internal testing and usage,

  utilized by the Accused Product practices capturing a digital image using a digital image capturing

  device that is part of a portable electronic device. Namely, Defendant uses the camera i.e, the part

  of the portable electronic device (smartphone) that captures the digital image. See Exhibit B.



                                                    4
Case 9:19-cv-81358-DMM Document 1 Entered on FLSD Docket 10/04/2019 Page 5 of 9




         19.     As recited in another step of Claim 1, the system, at least in internal testing and

  usage, utilized by the Accused Product practices detecting symbology associated with an object

  within the digital image using a portable electronic device. Namely, Defendant uses a portable

  electronic device (Smartphone or tablet) to detect symbology (e.g., pattern of QR code) associated

  with an object (Night Owl Security Product). See Exhibit B.

         20.     As recited in another step of Claim 1, the system, at least in internal testing and

  usage, utilized by the Accused Product practices decoding the symbology to obtain a decode string

  using one or more visual detection applications residing on the portable electronic device. Namely,

  Defendant decodes the symbology (i.e., QR code pattern) to obtain a decode string (i.e. hyperlink)

  using the visual detection application residing in the portable electronic device (i.e., Smartphone).

  For example, the Smartphone decodes the QR code on the object image captured from the

  Smartphone camera to obtain a decoded hyperlink. See Exhibit B.

         21.     As recited in another step of Claim 1, the system, at least in internal testing and

  usage, utilized by the Accused Product practices sending the decode string to a remote server for

  processing. Namely, Defendant sends the decoded string to a remote server for processing. For

  example, the Smartphone sends the information associated with the QR code to Defendant’s

  server. See Exhibit B.

         22.     As recited in another step of Claim 1, the system, at least in internal testing and

  usage, utilized by the Accused Product practices receiving information about the object from the

  remote server wherein the information is based on the decode string of the object. Namely, after

  clicking on the hyperlink, that is obtained by scanning the QR code associated with the product,

  the smartphone receives the information about the product from Defendant’s server. See Exhibit

  B.



                                                   5
Case 9:19-cv-81358-DMM Document 1 Entered on FLSD Docket 10/04/2019 Page 6 of 9




         23.     As recited in another step of Claim 1, the system, at least in internal testing and

  usage, utilized by the Accused Product practices displaying the information on a display device

  associated with the portable electronic device. Namely, Defendant sends the decode string to a

  remote server for processing. The information is received, and it is displayed on the display

  associated with the Smartphone. See Exhibit B.

         24.     The elements described in the preceding paragraphs are covered by at least Claim

  1 of the ‘752 Patent. Thus, Defendant’s use of the Accused Product is enabled by the method

  described in the ‘752 Patent.

                                  INFRINGEMENT OF THE ‘752 PATENT

         25.     Plaintiff realleges and incorporates by reference all of the allegations set forth in

  the preceding paragraphs.

         26.     In violation of 35 U.S.C. § 271, Defendant is now, and has been directly infringing

  the ‘752 Patent.

         27.     Defendant has had knowledge of infringement of the ‘752 Patent at least as of the

  service of the present Complaint.

         28.     Defendant has directly infringed and continues to directly infringe at least one

  claim of the ‘752 Patent by using, at least through internal testing or otherwise, the Accused

  Product without authority in the United States, and will continue to do so unless enjoined by this

  Court. As a direct and proximate result of Defendant’s direct infringement of the ‘752 Patent,

  Plaintiff has been and continues to be damaged.

         29.     Defendant has induced others to infringe the ‘752 Patent by encouraging

  infringement, knowing that the acts Defendant induced constituted patent infringement, and its

  encouraging acts actually resulted in direct patent infringement.



                                                    6
Case 9:19-cv-81358-DMM Document 1 Entered on FLSD Docket 10/04/2019 Page 7 of 9




         30.       By engaging in the conduct described herein, Defendant has injured Plaintiff and is

  thus liable for infringement of the ‘752 Patent, pursuant to 35 U.S.C. § 271.

         31.       Defendant has committed these acts of infringement without license or

  authorization.

         32.       As a result of Defendant’s infringement of the ‘752 Patent, Plaintiff has suffered

  monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

  for Defendant’s past infringement, together with interests and costs.

         33.       Plaintiff will continue to suffer damages in the future unless Defendant’s infringing

  activities are enjoined by this Court. As such, Plaintiff is entitled to compensation for any

  continuing and/or future infringement up until the date that Defendant is finally and permanently

  enjoined from further infringement.

         34.       Plaintiff reserves the right to modify its infringement theories as discovery

  progresses in this case; it shall not be estopped for infringement contention or claim construction

  purposes by the claim charts that it provides with this Complaint. The claim chart depicted in

  Exhibit B is intended to satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of

  Civil Procedure and does not represent Plaintiff’s preliminary or final infringement contentions

  or preliminary or final claim construction positions.


                                    DEMAND FOR JURY TRIAL

         35.       Plaintiff demands a trial by jury of any and all causes of action.




                                                     7
Case 9:19-cv-81358-DMM Document 1 Entered on FLSD Docket 10/04/2019 Page 8 of 9




                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for the following relief:

         a. That Defendant be adjudged to have directly infringed the ‘752 Patent either literally

  or under the doctrine of equivalents;

         b. An accounting of all infringing sales and damages including, but not limited to, those

  sales and damages not presented at trial;

         c. That Defendant, its officers, directors, agents, servants, employees, attorneys, affiliates,

  divisions, branches, parents, and those persons in active concert or participation with any of them,

  be permanently restrained and enjoined from directly infringing the ‘752 Patent;

         d. An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate Plaintiff for

  the Defendant’s past infringement and any continuing or future infringement up until the date that

  Defendant is finally and permanently enjoined from further infringement, including compensatory

  damages;

         e. An assessment of pre-judgment and post-judgment interest and costs against

  Defendant, together with an award of such interest and costs, in accordance with 35 U.S.C. §284;

         f. That Defendant be directed to pay enhanced damages, including Plaintiff’s attorneys’

  fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285; and




                                                   8
Case 9:19-cv-81358-DMM Document 1 Entered on FLSD Docket 10/04/2019 Page 9 of 9




            g. That Plaintiff be granted such other and further relief as this Court may deem just and

  proper.

   Dated: October 4, 2019                          Respectfully submitted,


                                                   /s/Howard Wernow
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                                                    9
